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  July 28, 2023

  VIA ECF

  Honorable Taryn A. Merkl
  United States Magistrate Judge
  United States District Court, Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:        Bartlett v. Société Générale de Banque au Liban S.A.L., 19-cv-00007 - Defendants’
             Joint Opposition to Plaintiffs’ Motion for Leave to Use Discovery in Other Actions

  Dear Judge Merkl:

  Defendants1 respectfully submit this joint letter in opposition to Plaintiffs’ July 21, 2023 letter
  motion,2 ECF 335, seeking the Court’s leave to use discovery obtained in this case from non-
  parties KBC Bank (“KBC”) and Standard Chartered Bank (“SCB”) in the Stephens and Freeman
  Actions (as defined in Plaintiffs’ letter).3 For the reasons below, the motion should be denied.

  First, at the outset, we note the letter motion purports to come from “Plaintiffs” in this case,
  Bartlett. These are the only “Plaintiffs” who are parties to the Protective Order, and the only
  “Plaintiffs” who have access to the confidential records in question, assuming compliance with
  the Protective Order. The motion seeks leave to use those records in at least three other actions
  (the Freeman Actions and Stephens). But the Freeman Actions and Stephens involve different
  sets of plaintiffs from those in this case, including over 50 individuals who are not Plaintiffs
  here. The distinction is critical because the Freeman and Stephens plaintiffs who are not
  Plaintiffs in this case have no basis in the Protective Order to access, review, or be informed of
  the content of confidential documents produced in this case, much less use those documents in
  another case. More broadly, the calculated imprecision in the letter reveals this motion for what
  it is: a request by plaintiffs’ counsel (some of whom are not even involved in this case) to use
  discovery obtained in this case that they think may help them to make out claims for other clients
  in other cases. Neither Osen LLC (Freeman) nor Burns Charest LLP (Stephens) present
  authority supporting their entitlement to the requested relief.

  Second, granting Plaintiffs’ request under these circumstances would risk harming our clients’
  efforts to produce customer records protected by Lebanese bank secrecy laws either through

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   Defendants are (1) Société Générale de Banque au Liban S.A.L., (2) Fransabank S.A.L., (3) MEAB Bank s.a.l., (4)
  BLOM Bank S.A.L., (5) Byblos Bank S.A.L., (6) Bank Audi S.A.L., (7) Bank of Beirut S.A.L., (8) LGB Bank s.a.l.,
  (9) Banque Libano Française S.A.L., (10) Bank of Beirut and the Arab Countries S.A.L., and (11) Fenicia Bank
  S.A.L.
  2
   As signatories to the Protective Order, Defendants plainly have standing to challenge Plaintiffs’ request. See
  Solow v. Conseco, Inc., No. 06-cv-5988 (BSJ) (THK), 2008 WL 190340, at *3 (S.D.N.Y. Jan. 18, 2008) (“[I]t is
  well-established that a party with a real interest in the documents has standing to raise objections to their
  production.”).
  3
      Plaintiffs did not attempt to meet and confer with Defendants before filing this motion.
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  customer waivers or letters rogatory issued by the Court. The parties have heretofore agreed that
  any information obtained through customer waivers or letters rogatory would be “subject to the
  provisions of the . . . Protective Order issued by this Court to protect their confidentiality.” ECF
  329-1 at 5; ECF 331-2 at 5.

  Indeed, any decision by the relevant Lebanese authorities granting the requested discovery is
  likely to be predicated on the assurances in the proposed letters rogatory that, under the Court’s
  Protective Order, any discovery obtained in the instant action cannot be used in any other action.
  ECF 272. Authorizing Plaintiffs to use other discovery obtained in this action to advance their
  claims in other actions would signal to both Lebanese authorities and the customers from whom
  Defendants seek waivers that the discovery sought would likewise be used in other contexts far
  beyond their stated purpose.

  Third, the motion should be denied because it does not meet Plaintiffs’ burden to identify a
  particularized and compelling need with respect to specific documents. Indeed, it is not even
  clear which documents are at issue because Plaintiffs have failed to specifically identify the exact
  KCB or SCB records they intend to use in the Freeman Actions. Instead, they broadly state that
  they wish to use (unspecified) documents to amend their complaints by including: “(1) the
  names of the alleged Hezbollah-affiliated entities and individuals in the transaction summaries;
  (2) the names of the Freeman defendants which held the relevant accounts; (3) the dollar
  amounts of the transactions processed on behalf of the relevant Hezbollah-affiliated customers
  between 2003-2011; and, where relevant, (4) transactional dates.” ECF 335 at 2.

  These generalized statements are not sufficient to overcome the high burden courts in this Circuit
  place on a party seeking to use discovery produced in one litigation in another litigation when a
  protective order is in place. See Martindell v. Int’l Tel. & Tel. Corp., 594 F.2d 291, 296 (2d Cir.
  1979) (holding that party should be entitled to rely upon enforceability of a protective order
  “absent a showing of improvidence in the grant of a Rule 26(c) protective order or some
  extraordinary circumstance or compelling need”); SEC v. TheStreet.com, 273 F.3d 222, 230 (2d
  Cir. 2001) (“It is . . . presumptively unfair for courts to modify protective orders which assure
  confidentiality and upon which the parties have reasonably relied.”); AT & T Corp. v. Sprint
  Corp., 407 F.3d 560, 562 (2d Cir. 2005); Iridium India Telecom Ltd. v. Motorola, Inc., 165 F.
  App’x 878, 880–81 (2d Cir. 2005).4 Far from showing a compelling need to use specific
  documents, Plaintiffs seek blanket permission to use unspecified documents that they might later


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    Plaintiffs’ reliance on Dove v. Atl. Cap. Corp., 963 F.2d 15, 19 (2d Cir. 1992), which governs circumstances where
  no protective order exists, is misplaced. As courts in this Circuit have explained, “[o]nce a protective order is in
  place . . . the applicable standard is that of Martindell v. Int’l Tel. & Tel. Corp., 594 F.2d 291, 296 (2d Cir.1979).”
  In re Sept. 11 Litig., 262 F.R.D. 274, 277 (S.D.N.Y. 2009); Minpeco S.A. v. Conticommodity Servs., Inc., 832 F.2d
  739, 742 (2d Cir. 1987) (finding that the district court judge correctly chose to apply the Martindell standard
  requiring a showing of “compelling need” to justify a modification to a protective order); Knitting Fever, Inc. v.
  Coats Holdings Ltd., No. CV05-1065 (DRH)(WDW), 2012 WL 13098758, at *2 (E.D.N.Y. Aug. 27, 2012) (finding
  that “[o]nce a protective order is in place,” “the Martindell presumption against modification” applies).
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  deem to fall within the generic categories in their letter. That is insufficient under the governing
  precedents.

  That failure is especially problematic here, where the records at issue—which currently span at
  least eight productions—involve multitudes of transactions. Defendants and this Court should
  not be required to parse through voluminous discovery to guess which exact information the
  “Freeman and Stephens plaintiffs intend to use [from] these records to bolster their allegations in
  their anticipated amendments of their complaints.” ECF 335 at 2. In addition, although
  Plaintiffs say that they would not name “the correspondent banks nor the routing codes or
  account numbers of the Hezbollah-affiliated customers,” id., they conspicuously do not promise
  that they would not make allegations identifying the Bartlett Defendants in the Freeman Actions
  or in Stephens, cf. Devlin v. Transportation Commc’ns Int’l Union, No. 95 CIV. 0752 JFK JCF,
  2000 WL 28173, at *8 (S.D.N.Y. Jan. 14, 2000) (explaining that the “privacy rights of non-
  parties may be invaded if information obtained through discovery was widely disseminated”).
  But any use of Defendants’ names in new allegations in the Freeman and Stephens actions is
  entirely irrelevant to the prosecution of those actions, which were filed against different banks.

  Worse yet, Plaintiffs’ lack of specificity would make it virtually impossible for Defendants and
  the Court to ensure that Plaintiffs comply with the Protective Order and the bounds of any order
  granting their request. See Martindell, 594 F.2d at 295 (“[A] valid Rule 26(c) protective order is
  to be fully and fairly enforceable”). Without knowing which specific documents—and what
  specific information within those documents—are covered by Plaintiffs’ nebulous request,
  neither this Court nor Defendants could police any use or misuse by Plaintiffs of the information
  in the Freeman and Stephens actions. That is precisely why precision is required in this setting.
  See id. Because Plaintiffs have failed to meet that burden, their request should be denied.

  This is no theoretical concern. In fact, in their motion here, Plaintiffs’ counsel intimate that
  information obtained in this case may have already been shared with the “plaintiffs in Stephens
  [who are] represented by separate counsel.” ECF 335 at 1 & n.2. While Plaintiffs state that “the
  Freeman court has authorized” the Freeman and Stephens counsel to coordinate, id., only this
  Court can authorize Plaintiffs to use or disclose discovery produced in this litigation pursuant to
  the Protective Order in this case. Before the Court addresses Plaintiffs’ current request, it should
  require Plaintiffs’ counsel to indicate whether they have already shared the information with
  counsel for the Stephens plaintiffs, and, if so, specify what information was shared, in violation
  of the Protective Order in this case.

  For the foregoing reasons, Plaintiffs’ motion should be denied in its entirety.

  Respectfully submitted,
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